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UNITED STATES DISTRICT COURT
FOR THB DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

 

SALA NAAMBWE AND YVETTE
NlMENYA,

Plaintiffs,
VS.
SMITHFIELD FOODS,

Defendant.

 

 

Case No.: 4:17-cv-04123-LLP

PLAINTIFFS’ RULE 26(3)(3) WITNESS ,
LIST AND EXHIBITS DISCLOSURE

 

 

COME NOW the Plaintii°fs in the above-entitled matter, and pursuant to the Court’s

Scheduling Ol'der dated Juiy 31, 2018 (Doe # 43) and F.R.C.P. Rule 26(a)(3), submit the

following list of Witnesses intended to be called and exhibits anticipated to be offered by the

Plaintiffs at the trial of this matter to be held on October 23, 2018:

Proposed Witness List

l) Sala Naarnbwe, 4901 W. 17‘}‘ Place, Sioux Falls, SD 57106; (469) 816-7016.

2) Yvette Naambwe, 1212 S. Majestica View Place, Apt. # 8, Sioux Falls, SD 57103;

(605) 723-9141.

3) Lorena Morales, 425 N. Covell Ave., Sioux Falls, SD 57104; (605) 212-3905.

4) BJ Motley, 1401 S. Hillview Rd., Sioux FallS, SD 57110; (605) 338-9453.

5) Thomas Arlderson, 3108 S. Greenwood, Ave., Sioux FallS, SD; (605) 521-6407.

6) Soott Genzler, 113 N. 1St Street, Aberdeen, SD 571-101 ; (605) 254-0432.

7) Russ Hultman, C/O Sn'iithfield Foods, lnc,, 1400 N. Weber, Sioux Falls, SD 57103;

(605) 330-3200.

 

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8) Monica Derby, C O Srnitht`ield Foods, Inc., 1400 N. Weber, Sioux Falls, SD 57103',
(605) 330-8200

9) Carrie Moate, C/O Srnithiield Foods, Ino., 1400 N. Weber, Sioux Fails, SD 57103;
(605) 330-8200

10) Seott Reed, C/O Srnithfield Foods, Inc., 1400 N. Weber, Sioux Falls, SD 57103;
(605) 330-8200

11) Lisa Christion, C/O Srnithfreld Foods, Ino., 1400 N. Weber, Sioux Falls, SD 57103;
(605) 330-8200

12) Becky Kaufman, C/O Smithiield Foods, lno., 1400 N. Weber, Sioux Falls, SD
57103; (605) 330-18200. '

13) lan Strum, 1016 §. 64fda Street, Sioux Falls SD 57103; (605) 212-6460.

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14) Dr. William Fuller, Avera Medical Group Behavioral Health Center, 4400 W. 69th
Street, Suite #100; Sioux Falls, SD 57106 (05) 322-4065.

Pro];osed Exhibit List

Ex. # SUMMARY DESCRIPTION
Deposition Exhibifs 1-58, including

1 Nirnenya Acknowledgernent form

2 Smithiield Employee Handbool<;

3 Srniti)fleld Code of Conduct and Ethics Handbook

4 Incident intake report form
6 Charge of Disei‘imination
7 Incident intake report form

8 Reed 3/3/ 16 email

 

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9 Moate 3/4/ 16 email

10 Memo of 3/22/16 meetings (srnoke meat Wash incident)
1 1 2/ 15/ 17 handwritten note

12 Photographs of Srnithiield Worlcplace

14 “Dear management” handwritten document

15 I-IR lncident intake report (2/22/16)

16 2/22/16 Genzlei' Waming

17 4/4/ 1 6 NLRB letter

18 Charge of Discrilnination

19 Naambwe Acl<nowledgeinent and Sexual Harassrnent Training form
20 Naambwe TPO documents

21 Locai 304A Grievance Frorn 8/26/16

23 Derby 9/12/16 email

24 Smithiield Warning notice

25 Srnithtield honeyline documentation

26 FMLA Notice

27 Collective Bargaining Agreelnent

28 Reed 4/4/16 entail

29 8/23/ 16 UFCW grievance

30 Derby 8/29/ 16 entail

 

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12/8/16 Warning

UFCW grievance

7/18/17 UFCW grievance

9/13/17 email

1/12/18 email

1/16/18 warning

3/27/18 Warning

3/29/18 Warning

4/2/18 email

4/4/ 18 incident report form

12/8/16 Warning

Naambwe 12/8/ 16 disciplinary action
2/22/ 16 Warning notice

8/1 5/ 17 incident report

2/22/ 16 incident intake report form
Logerl1/12/17 email

1/12/17 email

Argus Leader article posted in faciiity
Reed 2/29/ 16 einail

3/18/16 Summary of events

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50 3/22/16 documentation smoke meat Wash report
51 Absence report form

52 12/6/ 16 warning notice

53 2/15/17 handwritten notes

54 3/22/28 UFCW ietter

55 4/12/18 grievance

56 1/17/ 18 UFCW grievance summary

57 8/15/17 power point

58 8/1 5/ 17 email

59 Olgadez personnel tile (discipiinaiy and termination records)
60 Genzler personnel tiie (discipiinary records)
61 Hultman personnel tile (disciplinary records)

62 Lo ger personnel tile (disciplinary records)
63 Kaui`rnan personnel tile (disciplinary records)
64 Naarnbwe JM progress notes 2/13-11-17
Smithfield documentation in disclosures SFI_N&N 00 ]43~00348, including
65 Naainbwe 8/1 6/ 17 return to work authorization
66 11/11/16 Fieming email
67 1 1/13/17incident report

68 8/15/17 incident report

 

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Smithtield Annual Training documents

Smitiitieid 2016 c‘Understanding Workplace Harassment” manual

4/5/ 16 Moate email about Salgador discipline
5715/17 Moate emails re: Naambwe job/ grade pay
9/16/16 Moate email re: Kaut`rnan discip1inary action
[intentionaily blank]

1/18/18 ND email about Naambwe

4/5/ 18 Reed “CCP” emaiis

4/18/18 Reed Lisa Christion emails

2/22/16 Hultman entail to Moate

2/22/ 16 Moate email to Reed

4/16/18 grievance settlement emai1

1/31/18 Reed email and summary

1/1/18 Feren emai1 about breaks

1/25/ 17 Reed email re: Loger grievance

1/ 12 17 Loger emaii about Naainbwe/Ogladex

4/1/16 harrasment concern meeting notice

3/1/17 mediation notice

3/28/17 Moate email about Naainbwe

3/27/18 summary and recommendations by Moate

 

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89 8/26/18 Motiey & Reed emails.

90 8/29/ 16 Derby investigation notes

91 8/30/ 16 Derby investigation notes

92 3/1/ 17 meeting notice
Smiihfield documentation in disclosures SFIMN&N 00466-480, including

93 Naambwe work comp records (eXcerpted)
UFCWgrievances records, including.'

94 UFCW grievance form 5/18

95 UFCW grievance form 10/16

96 Strum notes re: Grievance #104/ 16

97 12/8/16 UFCW notes

98 Naambwe 1/19/18 UFCW grievance

99 Naambwe 3/30/ 18 UFCW grievance

200 Naarnbwe 4/11/18 UFCW grievance

201 JM Absence reporting documents from 2014-1/2018

202 8/29/ 16 UFCW notes

203 12/24/ 14 UFCW Olgadezf Naambwe notes

204 12/ 17 UFCW notes

205 3/27/18 Srnithiield Warning to Naarnbwe (suspension)

206 6/25/18 Medoza warning

 

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Ol'hcr records

207 Naarnbwe medical records from Avera Behavioral Health
208 Naambwe 12/9/16 UFCS grievance

209 Current Naambwe payr011 records for 2018

210 Current Nimenya payroll records for 201 8

21 1 Naarnbwe tax returns 2014-2017

212 Nimenya tax returns 2015-2017

213 Current Smithtield financial reports

Dated this 10“‘ day of September, 2018.

Wocnor a BARTLING

ry, SD 57533

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Allorneys for Plainii]j“s Salo. Noaml)we and
Yveiie Nimenya

  

 

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CERTIFICATE QF SERVICE

The undersigned attorney for the Plaintiffs states that on the 10th day of September,
2018, l electronically filed the foregoing with the Clerk of Courts using the Cl\/I/ECF system
which will automatically send email notification of such filing to the following counsel:

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